              Case MDL No. 2406 Document 165 Filed 01/24/13 Page 1 of 13



                                   BEFORE THE UNITED STATES
                          JUDICIAL PANEL ON MULTIDISTRICT LITIGATION




In re Blue Cross Blue Shield Antitrust                            MDL No. 2406
Litigation.



 DEFENDANTS’ RESPONSE TO LIFEWATCH’S MOTION TO VACATE CONDITIONAL TRANSFER
                                  ORDER

       The suit by LifeWatch Services, Inc. is one of more than two dozen actions filed across the

country that allege that Blue Cross & Blue Shield Association and its 38 member plans, through its

license agreements, have conspired to illegally restrain trade in the market for commercial health

insurance. This Panel has already centralized these matters before Judge R. David Proctor in the

Northern District of Alabama. In re Blue Cross Blue Shield Antitrust Litig., MDL No. 2406. LifeWatch

concedes that its action shares factual allegations with those transferred cases and that its case would

duplicate discovery. Accordingly, to promote just and efficient conduct, including avoiding the

significant risk of different rulings on overlapping issues and preventing duplicative discovery, and

to serve the convenience of the parties, LifeWatch’s suit should be centralized with the MDL. Thus,

the Panel should affirm the Conditional Transfer Order. See J.P.M.L. Rules 1.1(h), 7.1.

                                             Background

       Between February and November 2012, plaintiffs filed more than 20 suits across the United

States that challenge BCBSA’s longstanding practice of licensing the exclusive right to use the Blue

Cross and Blue Shield in a specified service area to its member Plans. These plaintiffs allege that,

through the licensing agreements with BCBSA, the Blues conspired to divide health-insurance

markets in violation of the antitrust laws. As a result of that alleged conspiracy, plaintiffs say,

subscribers paid inflated premiums and providers (like LifeWatch) received decreased
            Case MDL No. 2406 Document 165 Filed 01/24/13 Page 2 of 13



reimbursement rates. In September 2012, one of the plaintiffs petitioned the Judicial Panel on

Multidistrict Litigation under 28 U.S.C. § 1407 to centralize the then-pending antitrust actions

challenging BCBSA’s structure. (In re Blue Cross Blue Shield Antitrust Litig., MDL 2406 (Dkt. No. 1.).)

        A few weeks later, in mid-September, LifeWatch, a provider of medical devices and related

services, sued BCBSA and several Blue Plans, likewise alleging that BCBSA’s licensing agreements

are a de facto conspiracy by the Blues to allocate markets for health insurance in violation of the

Sherman Act. (LifeWatch Compl. ¶¶ 1, 33, 33(a)-(d), 47, 92-98.) LifeWatch argues that as a result of

the conspiracy, Blue Cross Plans deny coverage, and thus reduce reimbursement, for some of its

medical devices and services that Blue Cross Plans otherwise would cover. (Id. ¶ 94.) The LifeWatch

action was one of many additional actions identified as related to the pending MDL petition.

(In re Blue Cross Blue Shield Antitrust Litig., MDL 2406 (Dkt. No. 96).)

        On November 29, 2012, the Panel heard oral argument on whether to establish an MDL. (Id.

Dkt. No. 78). At oral argument, LifeWatch’s counsel acknowledged that it makes the same

exclusive-service-area related contention as the plaintiffs in the other cases, insisting that this

allegation would “help to tell the story” in its case and that plaintiff’s counsel would share common

“discovery with other parties.” (MDL Oral Arg. Tr. at 20, Exhibit 1.) The Panel granted the MDL

petition on December 12, 2012, centralizing these cases in the Northern District of Alabama. (Id.

Dkt. No. 128.) The next day, the Panel clerk issued a Conditional Transfer Order transferring

LifeWatch’s suit to the MDL. (Id. Dkt. No. 130.) Now, in an attempt to keep its suit out of the

centralized proceedings and force the LifeWatch defendants to litigate the same issues twice,

LifeWatch argues that the Conditional Transfer Order should be vacated and its suit should not be

transferred to the MDL. (Mot. to Vacate, Dkt. No. 151.)




                                             -2-
        Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
            Case MDL No. 2406 Document 165 Filed 01/24/13 Page 3 of 13



                                                Argument

        Transfer under § 1407 is appropriate if, as here: (1) the actions involve one or more common

questions of fact; (2) transfer promotes just and efficient conduct; and (3) transfer will be convenient

for the parties and witnesses. 28 U.S.C. § 1407(a). The standard for resolving transfer of a tag-along

action is the same. See, e.g., In re Stirling Homex Corp. Sec. Litig., 442 F. Supp. 547, 549 (J.P.M.L. 1977);

David F. Herr, Multidistrict Litigation Manual § 8:1 (2012). Here, affirming the transfer of LifeWatch’s

suit is appropriate because its case satisfies all requirements of § 1407. First, LifeWatch’s case, like

the other transferred actions, alleges that there is a conspiracy among the Blue Plans and BCBSA to

reduce competition through BCBSA’s license agreements in violation of the antitrust laws. Second,

transfer promotes just and efficient conduct by eliminating duplicative discovery and proceedings,

and preventing inconsistent rulings between the MDL Court and the Eastern District of

Pennsylvania. And third, any inconvenience to LifeWatch is outweighed by the substantial benefits

derived from centralization.

A.      LifeWatch’s suit, like the other transferred antitrust actions, alleges that BCBSA’s
        license agreements amount to a conspiracy to divide markets for health insurance.

        The opening salvo to LifeWatch’s complaint aptly captures the essence of its suit: “This

complaint is being filed to challenge a nationwide conspiracy among the thirty-eight (38) Blue Cross

Blue Shield plans to substantially and unlawfully reduce competition among these plans.” (LifeWatch

Compl. ¶ 1.) Like the plaintiffs in the transferred cases, LifeWatch names dozens of Blue Plans as

alleged “co-conspirators.” (Id. ¶ 21.) Twenty-five of those same Blue Plans are defendants and

purported co-conspirators in the transferred cases. (See, e.g., Conway Compl. ¶¶ 20-60, Exhibit 2.)

        LifeWatch also alleges the same conspiracy claimed in the cases in the MDL. Like the other

plaintiffs in these cases, LifeWatch alleges that (1) BCBSA licenses the Blue Marks in geographically

exclusive service areas; (2) those license agreements are in essence a “conspiracy”; and (3) that



                                             -3-
        Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
            Case MDL No. 2406 Document 165 Filed 01/24/13 Page 4 of 13



conspiracy “eliminates competition” among would-be competitors. (LifeWatch Compl. ¶ 1; see also id.

¶¶ 21, 33.) Just as in Conway—a putative class action brought on behalf of all providers that has been

transferred to the MDL—LifeWatch alleges that the Blue Plans’ conspiracy gave them market power

over providers and that this is illegal. (Compare LifeWatch Compl. ¶ 83, with Conway Compl. ¶¶ 77-88.)

And just like all the other plaintiffs, LifeWatch claims that BCBSA’s license agreements violate the

antitrust laws. (LifeWatch Compl. ¶¶ 92-98.) Accordingly, affirming the Conditional Transfer Order

in this antitrust suit fits comfortably within the line of precedent where the Panel centralizes actions

under the Sherman Act to recover for injuries sustained as a result of the same alleged conspiracy.1

        Despite the overlap between the factual allegations and legal claims between its case and the

other cases challenging BCBSA’s license agreements, LifeWatch argues that § 1407’s requirement

that the actions share common questions of fact is not met here. (Mot. to Vacate 4-10.) But none of

the six arguments that it raises in hopes of vacating the transfer order has any support under this

Panel’s precedent:

        First, LifeWatch insists that its exclusive-service-area conspiracy allegations are “neither

central nor critical” to its case and, therefore, its suit does not share a “core” of common facts with


1
  See, e.g., In re Lipitor Antitrust Litig., MDL No. 2332, 2012 WL 4069565, at *1 (J.P.M.L. Aug. 3, 2012)
(affirming CTO where individual action shared questions of fact with other antitrust class actions);
In re Oxycontin Antitrust Litig., 542 F. Supp. 2d 1359, 1360 (J.P.M.L. 2008) (affirming CTO where suit
did not involve exact same factual issues but alleged same conspiracy to monopolize pain-
medication market); In re Fine Paper Antitrust Litig., 453 F. Supp. 118, 121 (J.P.M.L. 1978) (affirming
CTO where, even though actions involved “some different defendants and some dissimilar factual
issues,” centralization was appropriate because all concerned “whether there has been a conspiracy
to engage in restrictive trade practices”).

The factual overlap here is what sets this case apart from those relied upon by LifeWatch.
See In re Medtronic, Inc. Implantable Defibrillators Prods. Liability Litig., 543 F. Supp. 2d 1370, 1371
(J.P.M.L. 2008) (vacating CTO because the action contained allegations for products plainly not at
issue in the centralized proceedings); In re Ameriquest Mortg. Co. Mortg. Lending Practices Litig., 542
F. Supp. 2d 1357, 1358 (J.P.M.L. 2008) (vacating CTO for two actions relating to two individual
loans because centralized proceedings involved predatory lending practices in general).


                                             -4-
        Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
            Case MDL No. 2406 Document 165 Filed 01/24/13 Page 5 of 13




the other cases. (Mot. to Vacate 3-4.) But a “core” of common facts “critical” to a case is not what

§ 1407 requires. Transfer under § 1407 requires that the actions share common factual allegations,

nothing more. 28 U.S.C. § 1407(a). There is no “predominance” requirement. See, e.g., Herr, supra,

Multidistrict Litigation Manual § 5:44 (2012). Indeed, the Panel has consistently noted that § 1407 does

not require a complete identity or even a majority of common factual issues. See, e.g., In re Oxycontin

Antitrust Litig., 542 F. Supp. 2d at 1360; In re Travel Agent Comm’n Antitrust Litig., 290 F. Supp. 2d

1381, 1382 (J.P.M.L. 2003). In any event, LifeWatch’s assertion that its attack on BCBSA’s licenses is

not “critical” is difficult to square with its own complaint, which—like the now-centralized

actions—alleges that the license agreements are the conspiracy and that the Blue Plans’ ability to

deny coverage for some of LifeWatch’s products is derived from that conspiracy.2

        Second, LifeWatch opposes centralization because the purported conspiracy and the

anticompetitive effects it alleges are limited: It alleges a conspiracy through the license agreements to

deny coverage of certain medical devices and related medical services. (Mot. to Vacate 7-8.) But

alleging a narrower subset of the global conspiracy to allocate insurance markets puts LifeWatch’s

conspiracy within the conspiracy alleged by the other plaintiffs, not outside it. In re Cuisinart Food

Processor Antitrust Litigation, 506 F. Supp. 651 (J.P.M.L. 1981), is instructive. In that case, the

defendant sought to centralize eight actions that alleged a conspiracy to fix the prices for food

processors. One of the plaintiffs asked to be excluded because he alleged a more limited



2 See, e.g., LifeWatch Compl. ¶ 1 (“The conspiracy reduces geographic expansion by Blue Cross
Plans”), ¶¶ 8, 21, 24 (naming BCBSA―the licensor―and every Blue Plan licensee as a defendant or
unnamed coconspirator), ¶¶ 30-36, 47 (cataloguing the “Power of Blue Cross Plans” and “The
Conspiracy: Allocation of Territories and National Accounts,” including BCBSA’s licensing
agreements, the “Service Area Rule,” the “80% Rule,” and the “Two-Thirds Rule”), ¶ 38 (alleging a
Blue Plan conspiracy to avoid “creating competitive points of difference” between the Plans), ¶ 41
(alleging that the “Medical Policy Rule” “further insulates Blue Cross Plans from any form of
competition among one another”), ¶ 45 (alleging that Blue Cross Plans “have agreed to severely
restrict the ability of any Blue Cross Plans to compete with other Blue Cross Plans”).


                                             -5-
        Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
            Case MDL No. 2406 Document 165 Filed 01/24/13 Page 6 of 13



conspiracy—one limited to particular purchasers and focused on distinctly local factors. The Panel

noted that the broader conspiracy “necessarily encompasses many aspects of the somewhat more

limited” conspiracy alleged by the plaintiff and concluded that transfer was necessary to prevent

duplicative discovery. Id. at 655; see also In re Cement & Concrete Antitrust Litig., 465 F. Supp. 1299,

1300 (J.P.M.L. 1979) (centralizing statewide antitrust conspiracy suits with other antitrust actions

because “national conspiracy alleged in some of the actions in the transferee district naturally

encompasses the statewide conspiracy”).3

        Third, LifeWatch emphasizes that it alleged a different relevant market than the other cases.

(Mot. to Vacate 1-2.) But the Panel’s case law is clear that alleging a different market does not

warrant exclusion from centralized proceedings. In re Petrol. Prods. Antitrust Litig., 407 F. Supp. 249,

251 (J.P.M.L. 1976); In re Midwest Milk Monopolization Litig., 379 F. Supp. 989, 991-92 (J.P.M.L.

1974). In those cases, the Panel ordered the inclusion of the plaintiffs’ antitrust suit with other

actions even though the plaintiffs alleged different markets; any unique factual issues related to those

markets could be addressed by the transferee judge’s “broad discretion to design a pretrial program.”

In re Petrol. Prods. Antitrust Litig., 407 F. Supp. at 251; see In re Midwest Milk, 379 F. Supp. at 991.



3
  LifeWatch suggests that its case is more like In re Gasoline Lessee Dealers Antitrust Litigation, 479
F. Supp. 578 (J.P.M.L. 1979), In re Teamster Car Hauler Products Liability Litigation, 856 F. Supp. 2d
1343 (J.P.M.L. 2012), and In re Zicam Cold Remedy Marketing & Sales Practice Litigation, 655 F. Supp. 2d
1371 (J.P.M.L. 2009). (Mot. to Vacate 5, 8, 9.) None of those cases apply here. In Gasoline, tag-along
actions were not centralized with a pending MDL because the difference between the two was
“tremendous,” common questions would “clearly be dwarfed” by matters of no interest to the tag-
along plaintiffs, and the benefits of transfer were “further diminished by the advanced stage of
pretrial proceedings” in the suits. 479 F. Supp. at 580. These factors do not exist in this case. In
Teamster, the Panel refused to order centralization because the suits involved only a common legal
issue; section 1407 “does not, as a general rule, empower the Panel to transfer cases involving only
common legal issues.” 856 F. Supp. 2d at 1343. In contrast, LifeWatch admitted at oral argument
that factual and discovery issues overlap. See Ex. 1 at 20. Finally, in Zicam, one action was excluded
because that action’s factual issues were not encompassed at all in the other suits, 655 F. Supp. 2d.
at 1373, another situation unlike this case.


                                              -6-
         Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
            Case MDL No. 2406 Document 165 Filed 01/24/13 Page 7 of 13



        Fourth, LifeWatch asks to be excluded because it, unlike some other plaintiffs, is a

healthcare provider. (Mot. to Vacate 5-6.) Yet whether actions have facts in common does not turn

on whether the parties operate on the same side of the market. Indeed, the Panel has repeatedly

rejected the argument that transfer should not be ordered for cases where plaintiffs are on different

receiving ends of conduct that allegedly violates the antitrust laws. See, e.g., In re Cuisinart Food

Processor Antitrust Litig., 506 F. Supp. at 654-55 (centralizing retailers’ claim with purchasers claims

because both alleged that defendants conspired to fix prices for food processors).4 Moreover,

LifeWatch’s argument ignores that the MDL already includes four actions brought by and on behalf

of healthcare “providers”: Conway, Surgical Center, Sult, and Heritage Medical Partners. (In re Blue Cross

Blue Shield Antitrust Litig., MDL 2406 (Dkt. Nos. 128, 145, 162, 164.).)

        Fifth, LifeWatch argues that its inclusion of a state-law claim is enough to force the

defendants to duplicate pretrial proceedings on the same issue. (Mot. to Vacate 8.) But the presence

of a state-law claim is no impediment to § 1407 transfer, and neither is it grounds for reversing a

conditional transfer order. In re Guidant Corp. Implantable Defibrillators Prods. Liability Litig., MDL

No. 1708, 2006 WL 1984688, at *1 (J.P.M.L. June 13, 2006); In re Sugar Indus. Antitrust Litig. (East

Coast), 471 F. Supp. 1089, 1094 (J.P.M.L. 1979); In re Uranium Indus. Antitrust Litig., 466 F. Supp. 958,

961-63 (J.P.M.L. 1979). If the rule were as LifeWatch would have it, then any party could avoid

MDL treatment by asserting a state-law claim or counterclaim. Unsurprisingly, the case relied upon

by LifeWatch does not stand for the proposition that a state-law claim is enough to exclude a case


4
  Accord In re Wells Fargo Wage & Hour Emp’t. Practices Litig., 804 F. Supp. 2d 1382, 1383-84 (J.P.M.L.
2011) (centralizing suits brought by home-mortgage consultants, loan originators, and loan
consultants); In re Gen. Adjustment Bureau Antitrust Litig., 375 F. Supp. 1405, 1406-07 (J.P.M.L. 1974)
(centralizing insurance purchasers’ claims with insurance adjusters’ claims because both actions
involved alleged monopolistic position of defendant in the insurance market); Herr, supra,
Multidistrict Litigation Manual § 5:43 (2012) (collecting cases transferring actions notwithstanding
differences among the parties).


                                             -7-
        Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
            Case MDL No. 2406 Document 165 Filed 01/24/13 Page 8 of 13



from an MDL. In In re AT&T Mobility Wireless Data Services Sales Tax Litigation, 710 F. Supp. 2d 1378,

1380 (J.P.M.L. 2010), the plaintiff’s case, unlike here, rested “entirely” on Texas law and did not arise

under any federal issue.

        Sixth, LifeWatch repeatedly calls attention to the fact that its claim is an individual claim and

not a class action like the other plaintiffs’ suits. (Mot. to Vacate 1, 4.) But the vehicle for LifeWatch’s

claim does not matter. See, e.g., In re Int’l House of Pancakes Franchise Litig., 331 F. Supp. 556, 557

(J.P.M.L. 1971) (centralizing nine antitrust suits even though fewer than half were class actions);

In re Air West, Inc. Sec. Litig., 384 F. Supp. 609, 610-11 (J.P.M.L. 1974) (centralizing two class actions

and one individual action). As the Panel has recognized, “it is not unusual for individual claims to

proceed in an MDL with class claims, as all parties can benefit from discovery regarding a common

factual core.” In re Lipitor Antitrust Litig., 2012 WL 4069565, at *1 (internal quotation omitted);

see also In re Polyurethane Foam Antitrust Litig., MDL No. 2196, 2011 WL 3182411, at *1 (J.P.M.L. May

19, 2011) (“The Panel, however, typically includes both individual actions and putative class actions

in the same multidistrict proceeding when they arise from the same alleged antitrust conspiracy.”).

        In the end, LifeWatch does not and cannot deny that its complaint contains many of the

same factual allegations as in the other complaints at issue. Each suit alleges the same nationwide

antitrust conspiracy and challenges the validity of the same license agreements between BCBSA and

each of its member Plans. Section 1407 dictates that LifeWatch’s action should be centralized with

those that share such common issues.

B.      Transfer of LifeWatch will promote just and efficient conduct.

        Centralization of LifeWatch’s suit will promote just and efficient conduct by eliminating

duplicative discovery as well as the risk of inconsistent rulings. Discovery in all 20-plus actions (as

well as other prospective tag-along actions) will be substantially overlapping and duplicative. At oral

argument before the Panel, LifeWatch’s counsel admitted that it makes the same exclusive-service-


                                             -8-
        Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
              Case MDL No. 2406 Document 165 Filed 01/24/13 Page 9 of 13



area-related claim as the other actions. In fact, when asked if it would consider dropping that claim,

LifeWatch’s counsel refused and insisted that the allegation was necessary for it “to tell the story.”

(Ex. 1 at 20.) Then when the Panel pressed LifeWatch’s counsel if the allegations were “an issue you

will likely want to do discovery on,” counsel confirmed it would, replying “[a]nd we will share that

discovery with other parties.” (Id.) Indeed, all plaintiffs, including LifeWatch, will presumably seek

discovery on the alleged “rules” or “guidelines” that are supposedly implemented by BCBSA

licenses and imposed upon the various Blue Plans: exclusive service areas5; the “80% Rule”6; and the

“Two-Thirds Rule.”7 (LifeWatch’s alleged “Medical Policy Rule” is just an example of another

BCBSA policy supposedly used to enforce the alleged conspiracy. (LifeWatch Compl. ¶¶ 37-47.).)

Absent centralization, BCBSA and the other defendants might be forced to produce the same

documents (and possibly raise the same objections) many times. The dozens of other Blue Plans

named as co-conspirators in the alleged national conspiracy would likely face overlapping, third-

party discovery. In addition, the same employees would be subjected to multiple depositions in

multiple forums on the same issues. Where parties must depose the same witnesses, examine the

same documents, and make the same (or similar) pretrial motions, the benefits of a single judge

supervising these proceedings are “obvious.” In re Uranium Indus. Antitrust Litig., 458 F. Supp. 1223,

1230 (J.P.M.L. 1978).

          LifeWatch counters that it should be excluded from the MDL because it will seek discovery

relating to coverage for the use of certain medical devices and related medical procedures. (Mot. to

Vacate 10-11.) The Panel has rejected a similar argument before. Where, as here, there are common


5
 Compare LifeWatch Compl. ¶ 33(a); with, e.g., Conway Compl. ¶¶ 65, 73, 98; Cerven Compl. ¶¶ 30, 83
(Exhibit 3).
6
    Compare LifeWatch Compl. ¶ 33(b); with, e.g., Conway Compl. ¶ 99; Cerven Compl. ¶ 84.
7
    Compare LifeWatch Compl. ¶ 33(c); with, e.g., Conway Compl. ¶ 100; Cerven Compl. ¶ 8.


                                               -9-
          Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
           Case MDL No. 2406 Document 165 Filed 01/24/13 Page 10 of 13



factual issues, plus a unique factual issue that can be dealt with under the transferee judge’s

discretion to manage the case, centralization is the proper course. See In re Bristol Bay, Alaska, Salmon

Fishery Antitrust Litig., 424 F. Supp. 504, 506 (J.P.M.L. 1976) (tag-along action that might involve

“substantial amount of discovery” on unique issue was left to transferee judge’s discretion “to allow

discovery on issues unique to any action to proceed concurrently with the common discovery”).

        The cases relied upon by LifeWatch for a different outcome present procedural

circumstances that are absent here. In In re Petroleum Products Antitrust Litigation, 476 F. Supp. 455, 458

(J.P.M.L. 1979), the Panel vacated a Conditional Transfer Order because the centralized proceedings

were already in the throes of discovery and the inclusion of the additional cases would “disrupt and

substantially delay the orderly progress” of those proceedings. There can be no argument that

transferring LifeWatch would disrupt the centralized proceedings here. LifeWatch and the centralized

proceedings are all in their infancy; no motions to dismiss are pending in the MDL or in LifeWatch,

and no discovery is proceeding in either case. The other cases relied upon by LifeWatch likewise

provide little traction for upsetting the transfer of its case. For example, in In re Harmony Loan Co.

Securities Litigation, 372 F. Supp. 1406, 1407 (J.P.M.L. 1974), the three actions were at different stages

of development—for example, discovery in one suit was already complete—and the actions

contained “several issues not common.” In re Rite Aid Corp. Wage & Hour Employment Practices

Litigation, 655 F. Supp. 2d 1376, 1377 (J.P.M.L. 2009), lacked a common federal claim, unlike here,

and the various state-law specific suits were brought by the same plaintiffs’ counsel, resulting in

de facto coordination absent centralization. And in In re Eli Lilly & Co. (Cephalexin Monohydrate)

Patent Litigation, 446 F. Supp. 242, 244 (J.P.M.L. 1978), the Panel concluded that transfer of three

patent disputes was unnecessary because under patent law, a resolution of one action would prove

dispositive of the issue in the other two.




                                             - 10 -
        Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
           Case MDL No. 2406 Document 165 Filed 01/24/13 Page 11 of 13



        Additionally, centralizing LifeWatch’s suit with the other host of cases claiming the same

antitrust conspiracy enables one court to address the underlying conspiracy claim and the legality of

BCBSA’s licenses. If LifeWatch’s case is not centralized, then there is a real potential for conflicting

rulings between federal courts on the existence of the alleged nationwide conspiracy and the validity

of BCBSA’s licenses. One of the primary aims of § 1407 is to remedy the potential for conflicting

rulings in suits with national implications. See, e.g., In re Lipitor Antitrust Litig., 856 F. Supp. 2d 1355,

1356 (J.P.M.L. 2012); In re Tele. Charge Antitrust Litig., 341 F. Supp. 771, 772 (J.P.M.L. 1972).

        At bottom, affirming the transfer of LifeWatch’s case will avoid overlapping discovery,

eliminate the risk of inconsistent rulings, and save the courts and the parties’ time and resources.

C.      LifeWatch’s alleged inconvenience does not outweigh the benefits to centralization.

        LifeWatch says that “[t]ransfer would certainly inconvenience LifeWatch.” (Mot. to Vacate

12.) But this “worm’s eye view” to inconvenience was rejected by the Panel long ago. In re Library

Editions of Children’s Books, 297 F. Supp. 385, 386 (J.P.M.L. 1968). “Of course it is to the interest of

each plaintiff to have all the proceedings in his suit handled in his district. But the Panel must weigh

the interests of all the plaintiffs and all the defendants and consider multiple litigation as a whole in

the light of the purposes of the law.” Id.; accord In re Fed. Election Campaign Act Litig., 511 F. Supp.

821, 823 (J.P.M.L. 1979). Centralization may be “less than convenient for some parties,” but where

the benefits outweigh this inconvenience for one party, centralization is appropriate. See In re Wells

Fargo Wage & Hour Emp. Prac. Litig. (No. III), 804 F. Supp. 2d at 1384.

        Here, there is no great inconvenience to LifeWatch: Centralized proceedings do not require

the parties to attend all the proceedings in the transferee court, and discovery of the parties can take

place in the district where the parties reside. See, e.g., In re Bristol Bay, Alaska, Salmon Fishery Antitrust

Litig., 424 F. Supp. at 506-07. Judge Proctor recently made this clear in the case management order

for the MDL proceedings, emphasizing that “parties with similar interests are expected to agree to


                                             - 11 -
        Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
           Case MDL No. 2406 Document 165 Filed 01/24/13 Page 12 of 13



the extent practicable on a single attorney to act on their joint behalf” at the MDL’s first status

conference. (MDL 2406, Case Mgmt. Order 1, Exhibit 4.) And the use of lead counsel, liaison

counsel, and steering committees can further reduce the need for travel and related expenses.

See, e.g., In re Indus. Wine Contracts Sec. Litig., 386 F. Supp. 909, 911-12 (J.P.M.L. 1975). In contrast,

BCBSA (located in Chicago) and the five Blue licensees (located around the country) that LifeWatch

has sued would be forced to litigate the same issues twice, in both the Northern District of Alabama

and the Eastern District of Pennsylvania. See Certain Defendants’ Resp. to Mot. to Transfer, at 7-9

(Dkt. No. 68). LifeWatch’s mere preference against centralization cannot trump § 1407(a), the

standard that dictates centralization here.

                                               Conclusion

        In sum, the Panel has already centralized actions alleging that the Blue System is a

“conspiracy” to allocate and divide markets for health insurance. LifeWatch alleges the same

conspiracy. Therefore, transfer of its case will promote just and efficient conduct, and any claimed

inconvenience is outweighed by the benefits achieved by centralization. Thus, rather than force the

LifeWatch defendants to double their pretrial efforts and risk inconsistent rulings, this Panel should

affirm the transfer of this case to In re Blue Cross Blue Shield Antitrust Litigation, MDL No. 2406.


        January 24, 2013                                          /s/ Daniel E. Laytin______________

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                                             - 12 -
        Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
  Case MDL No. 2406 Document 165 Filed 01/24/13 Page 13 of 13




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                                     - 13 -
Defendants’ Response to LifeWatch’s Motion to Vacate Conditional Transfer Order
